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                         Exhibit 12
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Transcript of Carl Berkowitz, Ph.D.
                                 Date: January 28, 2025
    Case: Scott -v- Washington Metropolitan Area Transit Authority




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                                                    Transcript of Carl Berkowitz, Ph.D.                           1 (1 to 4)

                                                      Conducted on January 28, 2025
                                                                    1                                                           3
1         IN THE UNITED STATES DISTRICT COURT                           1           APPEARANCES
2              FOR THE DISTRICT OF COLUMBIA                             2 ON BEHALF OF THE PLAINTIFF:
3    CAROL WILD SCOTT,              :                                   3   Patrick M. Regan, Esquire
4                Plaintiff,         :   Civil Action No.:               4   Regan, Zambri & Long, PLLC
5    v.                             :   2022-cv-00601 (CRC)             5   1919 M Street, NW, Suite 350
6    WASHINGTON METROPOLITAN        :                                       Washington, D.C. 20036
                                                                        6
7    AREA TRANSIT AUTHORITY,        :
                                                                        7   (202) 463-3030
8                Defendant.         :
                                                                        8 ON BEHALF OF THE DEFENDANT:
9    ---------------------------X
                                                                        9   Jason R. Waters, Esquire
10
                                                                        10 Lauren Gilman, Esquire
11                           Deposition of
                                                                        11 Wilson Elser Moskowitz Edelman & Dicker, LLP
12                       CARL BERKOWITZ, Ph.D.
13                        Conducted Virtually
                                                                        12 8444 Westpark Drive - Suite 510
14                  Tuesday, January 28, 2025
                                                                        13 McLean, VA 22102-5102
15                           10:00 a.m. EST
                                                                        14 (703) 245-9300
16
                                                                        15 (703) 245-9301 (Fax)
17
                                                                               -and-
18                                                                      16 Laurie Hand, Esquire
19                                                                      17 Washington Metropolitan Area Transit Authority
20 Job No.:     566725                                                  18 Legal Department 7E
21 Pages:     1 - 153                                                   19 P.O. Box 23768
22 Reported by:     Linda M. Bahur, RPR                                 20 Washington, D.C. 20006
                                                                        21 (202) 962-5063
                                                                        22 (202) 962-2550 (Fax)
                                                                    2                                                           4
1                Deposition of CARL BERKOWITZ, Ph.D.,                   1                INDEX
2    conducted virtually.                                               2            EXAMINATION
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                                                                        4 Carl Berkowitz, Ph.D.
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                                                                        5    By Mr. Waters ............................ 5
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7
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12 Registered Professional Reporter and Notary Public of                11 Exhibit 2 Curriculum vitae .................. 19
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                                      Transcript of Carl Berkowitz, Ph.D.                            2 (5 to 8)

                                        Conducted on January 28, 2025
                                                      5                                                           7
1              PROCEEDINGS                                 1 the insurance industry. They ask me to analyze
2 Whereupon,                                               2 situations and file a report, including reviewing
3              CARL BERKOWITZ, Ph.D.                       3 reports that are done for them by others, and I also
4 having been first duly sworn, was examined and           4 --
5 testified as follows:                                    5      Q What types of situations -- I'm sorry. I
6                 EXAMINATION                              6 didn't mean to cut you off. Go ahead.
7 BY MR. WATERS:                                           7      A And I also review situations and make
8      Q Thank you. Good morning, Dr. Berkowitz.           8 recommendations and try to understand the situations.
9      A Good morning.                                     9 The work I do as an expert is based upon scientific
10     Q My name is Jason Waters. We haven't had           10 methods and scientific and engineering methods that I
11 the pleasure of meeting before, but I represent the     11 was taught in high school, college, and as contractors
12 defendant, Washington Metropolitan Area Transit         12 in the industry. I try to do everything that I do
13 Authority in the Scott case.                            13 based upon the scientific method approach that was
14         I understand you've been designated as an       14 additionally he developed by -- it seems weird to talk
15 expert witness in this matter?                          15 about it. It was originally developed by Leonardo da
16     A Yes.                                              16 Vinci and more improved upon by Galileo and Isaac
17     Q I'm sure you've done this many times. As          17 Newton. And even though they were way back a couple
18 you know, if at any time you need a break, please let   18 hundred years, that's what we basically do today.
19 me know and I'd be glad to accommodate you.             19     Q Okay. What types of situations are you
20     A Thank you.                                        20 asked to look at?
21     Q If that's okay. All right?                        21     A All kinds of situations. Rail situations,
22     A Yes. Thank you.                                   22 bus situations. My focus is primarily on people.
                                                      6                                                           8
1      Q Would you state please state your full              1 Pedestrians, passengers in public transportation,
2  name?                                                     2 pedestrians in the public transportation environment
3      A Carl Berkowitz.                                     3 and workplace safety and people that work in the
4      Q And Dr. Berkowitz, how are you employed?            4 workplace in transportation. So my focus is always
5      A Pardon me?                                          5 people.
6      Q How are you employed?                               6       Q What is your expertise, sir?
7      A   I'm self-employed.                                7       A What do you mean expertise?
8      Q And do you have a company?                          8       Q Do you have an area of expertise in which
9      A Yes, Carl Berkowitz.                                9 you hold yourself out as an expert for consulting
10     Q Okay. How are you employed? What is your            10 matters?
11 job?                                                      11      A Transportation, engineering and safety I
12     A   What   is my  job?  Primarily   being a           12 would say and as an educator in the field of
13 grandfather. Secondarily, many other activities. I        13 transportation.
14 spend a good deal of time working out and swimming in 14          Q I'm sorry?
15 the gym, things of that nature. And then I also do        15      A And as an educator.
16 consulting work and expert witness work.                  16      Q Okay. Do you divide your time between
17     Q   I am  here to ask you about  your consulting      17 expert work and consulting work or do you see that it
18 and expert witness work. Can you please explain what      18 as the same thing?
19 type of consulting work you do.                           19      A It's intermingled. I can't basically
20     A Well, from time to time, I asked to look at         20 separate  it. I'm asked to do the work because of my
21 a situation and to write a report about that              21 education, background and experience. So, I mean --
22 situation.  I do  both  plaintiff and defendant  work for 22      Q How much of the work is involving
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                                      Transcript of Carl Berkowitz, Ph.D.                            33 (129 to 132)

                                        Conducted on January 28, 2025
                                                    129                                                        131
1         You know, the military standards are the         1 safely as possible.
2 easiest standards to follow. They assume that            2          In terms of transportation, engineers are
3 everybody who reads the military standards has a first   3 taught safety, safety, safety. So everything that is
4 grade education. So it's pretty easy. Some of the        4 done, we'd be having zero tolerance for never
5 others are much more complicated. They involve           5 following standards in the transit industry.
6 complicated software, data collection. This makes a      6          (Reporter clarification.)
7 lot of the data collection and the analysis of the       7      A We have a zero tolerance for not following
8 data -- I guess it's all going to change with AI. I      8 standards and rules and regulations in the transit
9 guess artificial intelligence will just supersede all    9 industry.
10 of this. Right now, this is what we're doing.           10     Q All right, Doctor. I'm going to bring up
11     Q Okay. But you agree with me that this             11 Exhibit 4, which is the affidavit we talked about. Do
12 hazard management process, the system safety program    12 you recall giving this affidavit?
13 plan is a matter for policymakers at the transit        13     A I don't remember exactly. It seems
14 authorities. It's not about something that the          14 familiar.
15 individual operators would be doing; correct?           15     Q Okay. So paragraphs 4, 5 and 6 --
16     A No. And then the goal is to follow the            16     A Can you blow it up, please? I didn't make
17 prior cue safely. You know, basically, this has been    17 a copy.
18 adopted, I think, back in the 1920s. I think it goes    18     Q Of course. Of course. Is that good?
19 back that far.                                          19     A Yeah. I can see it now. Thank you.
20     Q This is, again, a management issue?               20     Q Okay. So actually starting back at 3. I
21     A Yes, it's management.                             21 should  give you a chance to read the entire affidavit.
22     Q On page 21, you talk about training. You          22 So why don't you take a chance to look at this since
                                                    130                                                        132
1 begin with your statement "There is no evidence that     1 you don't have it.
2 WMATA properly trained their operational staff." What 2          A Thank you.
3 is your basis for that statement?                        3       Q Let me know when you want me to move on.
4      A Well, then this incident wouldn't have            4       A Okay. Go up a little bit more.
5 occurred if they properly trained their staff.           5       Q All right.
6      Q So the fact that that incident occurred is        6          MR. REGAN: I'm going to keep my camera on.
7 the basis for your opinion that WMATA is not training    7 I just want to get a drink of water; okay?
8 sufficiently?                                            8          MR. WATERS: Okay.
9      A Well, it looks that way from when they            9          MR. REGAN: It will literally take me one
10 don't take this -- they didn't seem to take this as     10 minute while he reads that.
11 seriously as it should be taken. And you indicated to 11           MR. WATERS: Okay.
12 me, which I wasn't aware of, that this train made       12      A Okay. Okay.
13 several other station stops within that stop with the 13        Q I want to wait for Pat to get back before I
14 correct location, that they made a stop at a location 14 ask my next question.
15 that wasn't the official stopping location on various 15           Turning to section 4, paragraph 4, you
16 other locations.                                        16 state "The New York Transit Authority also adheres to
17         So this is, you know, kind of an indication     17 the national standard of care with respect to
18 that this needs more work and there needs to be more 18 restarting repositioning an improperly-berthed train."
19 training in this area to make sure that trains, you     19 And that's referring back to what you defined as the
20 know,  makes   the  proper  announcement,  stop  at the 20 statute standard of care in paragraph 1; correct?
21 proper place, avoid the jerk rate, they don't exceed 21         A Rate.
22 the jerk rate, and that they operate the system as      22      Q Okay. What is your basis for stating that
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                                     Transcript of Carl Berkowitz, Ph.D.                            34 (133 to 136)

                                       Conducted on January 28, 2025
                                                    133                                                       135
1 the New York Transit Authority adheres to that          1      Q Who was it you contacted at SEPTA?
2 standard of care identified in paragraph 1?             2      A No, I didn't. I belong to committees and I
3       A From my work experience with the New York 3 just asked people, you know, how do you handle this?
4 City Transit Authority.                                 4 In fact, which I didn't include in my report, I did a
5       Q Do you have a particular document that you      5 summary of all of the people I spoke to on various
6  can  refer to with regard to policy at the New  York   6 committees as to how they deal with this situation. I
7 Transit Authority that you're citing to?                7 prepared something general, but I didn't include it in
8       A I think I do but I didn't use it. I think       8 my report. And I think in my report I did include
9 I do.                                                   9 SEPTA, but I did include MBTA.
10      Q I think you answered my question, but did       10     Q So you have a separate summary of people
11 you refer to that document or rely on that document in 11 you've  spoken with or authorities?
12 preparing this affidavit?                              12     A No. I just prepared some notes on what was
13      A No, because I knew the information because 13 the step-by-step process at the various metros.
14 I, you know, I've been involved with it. So I knew     14 There's 16. As you know, there was 16 metros in the
15 about it.                                              15 United States, 11 underground --
16      Q Okay. Same question for number 5. What is       16     Q Did you prepare that?
17 the basis of your statement with respect to Chicago    17     A In general --
18 Transit Authority?                                     18     Q Did you prepare that before you gave this
19      A From my working with them.                      19 affidavit in November of 2023?
20      Q Okay. Do you have any specific document         20     A No.
21 that you were referring to as being the basis for      21     Q Did you prepare that in connection with
22 their practice with regard to the policy stated in     22 this affidavit for November 2023?
                                                    134                                                       136
1 paragraph 1?                                             1      A No. I prepared it in conjunction with the
2      A I don't believe so.                               2 supplemental safety report.
3      Q Okay. Did you do any research as to what          3          MR. WATERS: Okay. I believe that's the
4 their policies are or their procedures are with          4 document we requested would have been available to us
5 respect to the policy that you identified or the         5 for today. Again, I'm going to repeat my request that
6 standard you identified in paragraph 1?                  6 the materials that we requested in our subpoena be
7      A From my working with Chicago Transit and          7 provided to us.
8 people who were from Chicago, I knew it as well as I     8          MR. REGAN: This is the fourth thing. But
9 knew from SIRTOA and also other transit companies.       9 you and I can check it later.
10     Q Well, when you prepared this affidavit --         10     Q All right. I'm going to bring up Exhibit
11 I'm sorry.                                              11 5. I believe this is your supplemental report of
12     A Okay. This I only mentioned a couple, but         12 November 21, 2024?
13 others that I could have mentioned as well.             13     A Right.
14     Q Did you call anybody at Chicago Transit           14     Q You indicated that you received and
15 Authority to confirm that this is their practice and    15 reviewed an affidavit from Stacey Swain, dated
16 policy?                                                 16 November 26, 2023?
17     A No, because I knew it was.                        17     A Yes.
18     Q Same question for paragraph 6. Is there a         18     Q Did you receive any other documents in
19 specific document that you're referring to with         19 connection with this case in preparation of your
20 respect to the statement in paragraph 6?                20 supplemental report?
21     A No. In that case, I did chat with somebody        21     A I think I had a lot of the other documents
22 from  SEPTA.                                            22 prior to this supplement.
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                                         Transcript of Carl Berkowitz, Ph.D.                             35 (137 to 140)

                                           Conducted on January 28, 2025
                                                         137                                                       139
1      Q Just to be clear, the paragraphs in 4                 1      Q And is that correct, that that's the reason
2 through 6 of your affidavit in Exhibit 4, that               2 you provided the supplemental report, was to address
3 information was not included in your original report;        3 the national standard of care that wasn't to the
4 correct?                                                     4 extent it wasn't addressed in your original report?
5      A No. Some of it was.                                   5      A Yes.
6      Q You identified Southeast Pennsylvania                 6      Q Okay.
7 Transit Authority, Chicago Transit Authority, and New        7      A There is some things I can duplicate like
8 York City Transit Authority in your original report          8 the timeline.
9 compared to that statement?                                  9      Q Yeah.
10     A What I started doing is I started with                10     A There are a few -- you know, the standard
11 largest  -- the largest system is New York City. The        11 operating procedure I think are in both. So there is
12 second largest is WMATA. The third largest is CTA.          12 some repetition.
13 The fourth is MBTA. So I was just going in the order.       13     Q So I'm going down here to page 8. New York
14     Q Okay.                                                 14 City Transit, you have a discussion with regard to New
15     A I stopped at --                                       15 York City Transit?
16     Q My question is very specific, sir.                    16     A Right.
17 Regarding the standard of care that you've offered in       17     Q Again, from the affidavit until here, did
18 paragraph 1 of your complaint, this information is new      18 you pull any documentation or review any policies from
19 in your affidavit that was not provided in your             19 New York City Transit in preparation of your
20 original report; correct?                                   20 supplemental report, the section beginning on page
21     A Yes, that's correct.                                  21 8?
22     Q Okay. Going on in your supplemental                   22     A There are documents, but I didn't refer to
                                                         138                                                       140
1 report.                                                      1 them because I was very familiar with their
2       A I'm going to refer to mine because it's              2 procedures.
3 easier for me to read. Is that all right?                    3     Q This is based on your familiarity with New
4       Q Yeah. That's fine. I can make it a little            4 York City Transit procedures?
5 larger for everybody.                                        5     A Yes.
6       A No. It's just easier for me to read from             6     Q When was the last time you worked with New
7  my   report.                                                7  York City Transit?
8       Q Of course. Did anything change in incident           8     A For or against them?
9 overview from your original report to your                   9     Q For them.
10 supplemental report?                                        10    A I haven't worked lately for them, but I
11      A No, but there was a question of what the             11 worked quite a bit to make them safer by working
12 national  standard of care was, and I think that wasn't     12 against them.
13 addressed sufficiently to meet the requirements of          13    Q When was the last time you were employed by
14 Washington, D.C. So that's why I prepared the               14 New York City Transit?
15 supplemental report, to indicate that WMATA's standard      15    A Employed by them? I was employed by the
16 operating procedures are just a repeat of the national      16 MTA, which is the parent of the New York City Transit.
17 standard of care that's used by all -- you know,            17    Q And when was the last time you were
18 generally for this particular situation, are used by        18 employed by MTA?
19 all the public transit agencies which are considered        19    A I was teaching transportation safety and
20 metros in the United States. And I didn't list every        20 management at the MBA level I guess when I retired
21 single one of them. I just picked the top three             21 from teaching. I was -- 20 years ago.
22 biggest.                                                    22    Q Okay. Were you employed -- I mean, when
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                                        Transcript of Carl Berkowitz, Ph.D.                            36 (141 to 144)

                                          Conducted on January 28, 2025
                                                        141                                                       143
1 you were teaching, were you employed directly by the        1 with a matter involving New York City Transit
2 MTA or were you an independent contractor?                  2 Authority.
3      A The college that I was teaching at, I was            3       Q How is it that a New York Transit Authority
4 retained by the MTA Long Island Railroad, Metro North,      4 case helped you develop knowledge about MBTA's
5 New York City Transit Authority, Cargo Bridge and           5 procedures on the team?
6 Tunnel Authority to teach our MBA and intermodal            6       A My knowledge of each of the systems is
7 transportation to their managerial employees and I was      7 independent of each other. It's a national standard
8 the -- I wrote the curricula and I taught most of the       8 of care. This is common sense. These are common
9 courses.                                                    9 sense things that are required to do. And the point
10     Q You next cite the Massachusetts Bay                  10 is that this is an area which WMATA has done an
11 Transportation Authority. Did you pull any                 11 excellent job. Their operating procedures that cover
12 documentation or review any policies in connection         12 this area do an excellent job. I was asked to
13 with your statements here?                                 13 determine was WMATA unique or is WMATA similar to what
14     A I had previously had cases involving the             14 everybody else in the industry does.
15 MBTA and dealt with this subject, and this is the          15          I would say that New York City Transit does
16 information that I learned from the various documents      16 a little more than WMATA. Maybe if we were ranking,
17 that they provided.                                        17 grading WMATA, maybe I'd give them a B for this area
18     Q And you're pulling this from your knowledge          18 and I would give New York City Transit an A. It's not
19 of another case?                                           19 the most perfect system, but then New York City
20     A No. My knowledge of the operate -- I've              20 Transit puts a lot of time and energy into safety
21 done  many cases involving the MBTA, but my general        21 standards. And they have a lot of impact on the
22 knowledge of their operation announcements, what have      22 industry on what the industry does, and a lot of the
                                                        142                                                       144
1 you, most of the cases that I had involve pedestrian        1 national standards of care come from the work that's
2 injuries in stations and on the train.                      2 been done by the New York City Transit Authority and
3      Q Okay. So is there a specific -- I'm just             3 the committees of APTA and AREMA.
4 trying to understand what you're saying. Your               4      Q Here I'm asking you specifically about
5 knowledge of the MBTA that's reflected in this report,      5 MBTA.
6 Exhibit 5, is that based on a specific case that you        6      A That's why I'm working --
7 were involved in?                                           7      Q What is the basis for your knowledge of
8      A No. This is general knowledge that I have            8 their standards on the team?
9 in addition. They served with me on various APTA            9      A I have documents from previous cases which
10 committees. I'm not on the operating practice              10 I read in the past. I didn't refer to them because I
11 committee, but I've spoken to people on the operating      11 did know exactly what they were doing and I just wrote
12 practice committee about this subject matter and they      12 it up from my knowledge.
13 just confirmed a lot of what I printed and written in      13     Q Did you consult those --
14 here as evidence of the standard of care.                  14     A If I (indiscernible) the report, I would
15     Q Did you speak with them specifically in              15 have referenced the report. I'm quoting my knowledge
16 connection with providing this report?                     16 of how they conduct when a train does the stop at its
17     A I think it was -- initially, it was on               17 proper spot on the platform, whether it overshot the
18 another case that I dealt with where a person in the       18 platform or undershoots the platform, what is the
19 New York City subway system fell when the train made a     19 national standard of care? What is the industry? The
20 sudden unexpected --                                       20 16 metros in United States, what do they do?
21        (Reporter clarification.)                           21        Basically what they do is describe those,
22     A   Initially, I started my work in this area          22 but I also found out in general that the first thing
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                                       Transcript of Carl Berkowitz, Ph.D.                             37 (145 to 148)

                                         Conducted on January 28, 2025
                                                       145                                                        147
1 they do when a train stops at the wrong location, the      1      Q May I ask a question now?
2 train operator communicates to the control center, you     2      A Sure.
3 know, exactly the situation. And the control center        3      Q Okay. I am looking for the basis of your
4 will tell them what to do next. And generally, you         4 specific knowledge with regard to this. I heard your
5 know, we don't know whether trains stopped in that         5 answer. My question is very specific. With respect
6 location. So the operator performs basically the           6 to New York City Transit, Massachusetts Bay Transit
7 national standard of care. They do safety checks to        7 Authority and Chicago Transit Authority, in your
8 ensure that if they reposition the train, that it's        8 supplemental report, in preparing the report that is
9 done without harming the passengers or the equipment.      9 up in front of you, did you consult any specific
10 And that may require a positioning going backwards or     10 documents to prepare this summary?
11 forwards. We don't like going backwards. So if it's       11     A No. No.
12 necessary to go backwards to reverse to the station,      12     Q Did you speak to any specific individuals
13 this has to be done with careful coordination with        13 for the express purpose of confirming your
14 train control, that there isn't a train in back of the    14 understanding of their policies for the purpose of
15 train that's doing the repositioning.                     15 preparing this report?
16        And one of the key things I found in               16     A Yes.
17 talking to people in the industry, that when in doubt,    17     Q Who did you speak with?
18 always make an announcement. Always make                  18     A I spoke to train operators, people
19 announcements to ensure that the customers know           19 operating the trains on the New York City transit, and
20 everything that's going on. There's no doubt in their     20 he introduced me to people on the other transit
21 minds. You make an announcement to keep them informed     21 systems because he was involved in union work and he
22 and safe and the why they're delayed and may not be on    22 knew the other transit companies. And I spoke to a
                                                       146                                                        148
1 schedule. That kind of stuff.                              1 few train operators as to how they performed their
2      Q Doctor, did you review --                           2 duty. Plus I remember reading, you know, in the past,
3      A And then once the service is resumed and            3 various operating procedures and training manuals
4 the correct position is taken, then the service            4 which also covered these areas which I couldn't get my
5 resumes as normal. So that's the background I have         5 hands on, couldn't find them, but I do remember what I
6 generally in this area. And based upon my working in       6 read. And the New York City Transit, I actually
7 the industry -- and, in fact, the Chicago Transit, I       7 reconfirmed with a friend of mine who is a retired
8 did some work with them years and years ago when I was     8 operator who works in transit.
9 a college professor at City College of New York. I         9      Q What was the name of the train
10 was the visiting -- I began as visiting professor at      10 operator that you ---
11 City College. My boss there was the former CTA            11     A Orlando --
12 chairman, and we always used to talk all about he was     12     Q Please let me finish my question, sir.
13 the founding chairman of the CTA and also of the          13        What was the name of the train operator you
14 regional transportation agency under the original         14 confirmed with specifically for the purpose of
15 Mayor Daley. So we always chatted a lot about safety      15 preparing this report?
16 and how things are done.                                  16     A Not specifically. I asked -- I used my
17        So I know from my working in Chicago and           17 background,    education and experience, and then I ran
18 from my riding the systems and all my education,          18 it by him and then he confirmed that I was correct.
19 background, experience with the various transit           19     Q What's his name?
20 companies in the United States and around the world,      20     A Orlando Jimenez.
21 that these are what they do and that's why I              21     Q How do you spell it, please?
22 articulated it.                                           22     A O-R-L-A-N-D-O J-I-M-E-N-E-Z.
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                                      Conducted on January 28, 2025
                                                   149                                                     151
1       Q Is Mr. Jimenez -- did you say he's an      1          MR. WATERS: Yeah. Let's take five
2 operator?                                          2 minutes.
3       A He's a retired train operator and union    3          MR. REGAN: Okay. I've got 1:36.
4 representative and also a trainer for the New York 4          THE WITNESS: So five minutes for 1:41?
5 Transit Authority. He's retired.                   5          MR. WATERS: Correct. 1:41.
6       Q Did he ever set policy for New York City   6          (Break taken, 1:36 - 1:41 p.m.)
7 Transit?                                           7          MR. WATERS: Dr. Berkowitz, I think we were
8       A What do you mean, set policy?              8 able to expedite what I thought I had left over when
9       Q Set policy. Did he ever set policies for   9 we broke for lunch. So at this point, I have no other
10 operators --                                      10 questions unless Mr. Regan has anything he wants to
11      A I don't think the train operator, that's   11 ask you. That's all I have.
12 not their pay grade level, to set policy.         12         MR. REGAN: Thank you very much, Jason. I
13      Q Did he ever operate a train on any other   13 have no questions.
14 system?                                           14         Linda, how did we do? Okay the last hour?
15      A Yes, he has.                               15         THE REPORTER: Much better.
16      Q   Which system?                            16         MR. REGAN: All right. Do you need
17      A I don't remember, but he mentioned that he 17 anything from the witness or from any of us?
18 did.                                              18         THE REPORTER: Just his reports so I can
19      Q Do you have an address or a phone number   19 look up spellings or abbreviations.
20 for Mr. Jimenez?                                  20         MR. WATERS: Yeah. I'll send you all five
21      A Sure.                                      21 of the exhibits that I noticed or actually, Kaylan
22      Q Would you please provide that?             22 just sent his email address, so I'll copy and paste
                                                   150                                                     152
1       A If I'm required to.                            1 that. I'll try to at least. It's not working for me.
2       Q   I request that you do.                       2          MR. REGAN: And Jason, I'll follow up with
3          MR. REGAN: I'll talk with Mr. Berkowitz       3 what my notes show and then we'll get those documents.
4 afterwards.                                            4          Linda, I have a standard order, so.
5       Q Anybody else that you spoke with in            5          MR. WATERS: We should probably advise Dr.
6 connection with either MBTA, Chicago Transit or New 6 Berkowitz. I'm glad to do it if you'd like me to.
7 York City --                                           7          MR. REGAN: Sure. Dr. Berkowitz, I don't
8       A Yes. I spoke about --                          8 know what your pleasure is in terms of reading and
9       Q -- for the specific purpose of preparing       9 signing versus waiving.
10 this report?                                          10         THE WITNESS: I trust Linda.
11      A No. He was the most specific person that I 11             MR. REGAN: Okay. That means waiver.
12 spoke to.                                             12         MR. WATERS: Linda, my order is what we
13      Q When did that conversation --                  13 discussed before. I'd like a rough. If you can't do
14      A The others were general conversations.         14 an expedited by tomorrow -- my preference would be
15      Q When did that conversation occur?              15 expedited tomorrow. Mini, electronic is perfectly
16      A Somewhere between 2000 and 2024, many 16 fine.
17 times.                                                17         THE REPORTER: Sure.
18         MR. WATERS: Can we just pause for a few 18               PD TECHNICIAN: And counsel, if you afford
19 minutes? I want to reorganize, see if I have anything 19 me those emails, I'll send those over to Linda.
20 further. Trying to move this along.                   20         (The deposition of CARL BERKOWITZ,
21         MR. REGAN: Do you want to take a              21     Ph.D. was concluded at 1:42 p.m.)
22 five-minute  break or not?  Too much  time?           22
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